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                   IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA
In re:                                 :
                                       :  Case No.: 16-24825-JAD
    John W. Sorensen                   :  Chapter 7
    Cambria L. Sorensen                :  Judge Jeffery A. Deller
                                       :  *********************************
       Debtor(s).                      :
                                       :
   U.S. Bank National Association, as  :  Date and Time of Hearing
   Trustee, for Residential Asset      :  Place of Hearing
   Securities Corporation, Home Equity :  September 5, 2017 at 10:00 a.m.
   Mortgage Asset-Backed Pass-         :  _________________________________
   Through Certificates, Series 2006-  :
   EMX7                                :  Courtroom D, 54th Floor
         Movant,                       :  U.S. Steel Tower
                                       :  600 Grant Street
           vs.                         :  Pittsburgh, PA 15219
                                       :
                                       :
   John W. Sorensen                    :
   Cambria L. Sorensen                 :
                                       :
   Natalie Lutz Cardiello              :
                                       :
        Respondents.                   :


        NOTICE OF MOTION, RESPONSE DEADLINE, AND HEARING DATE

        U.S. Bank National Association, as Trustee, for Residential Asset Securities Corporation,
Home Equity Mortgage Asset-Backed Pass-Through Certificates, Series 2006-EMX7 has filed a
Motion For Abandonment of Real Property With 30 Day Waiver with the Court to permit U.S.
Bank National Association, as Trustee, for Residential Asset Securities Corporation, Home
Equity Mortgage Asset-Backed Pass-Through Certificates, Series 2006-EMX7 to foreclose on
the real property at 622 Bascom Avenue, Pittsburgh, PA 15237.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney you may wish to consult an attorney.)

   1. If you do not want the Court to grant the relief sought in the motion or if you want the
      Court to consider your views on the motion, then on or before August 21, 2017, you or
      your attorney must do ALL of the following:

       A. File an answer explaining your position at:


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                                Clerk, U.S. Bankruptcy Court
                                    5414 U.S. Steel Tower
                                       600 Grant Street
                                    Pittsburgh, PA, 15219

      If you mail your answer to the bankruptcy clerk's office for filing, you must mail it early
enough so that it will be received on or before the date stated above, and

       B. Mail a copy to the Creditor's attorney and the below listed:

Office of the United States Trustee, Liberty Center, 1001 Liberty Avenue, Suite 970, Pittsburgh,
PA 15222

Natalie Lutz Cardiello
107 Huron Drive
Carnegie, PA 15106

Manley Deas Kochalski LLC
P.O. Box 165028
Columbus, OH 43216-5028


   2. If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b) above,
      and attend the hearing, the Court may enter an Order granting the relief requested in the
      Motion.

   3. A hearing on the Motion is scheduled to be held before the Honorable Jeffery A. Deller
      on September 5, 2017 at 10:00 a.m. in Courtroom D, 54th Floor, U.S. Steel Tower, 600
      Grant Street, Pittsburgh, PA 15219.

   4. If a copy of the Motion is not enclosed, a copy of the Motion will be provided to you if
      you request a copy from the attorney named in paragraph 1(b).

   5. You may contact the Bankruptcy Clerk's office to find out whether the hearing has been
      canceled because no one filed an answer.

DATE: _August 4, 2017_




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                   IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA
In re:                                 :
                                       :
    John W. Sorensen                   :  Case No.: 16-24825
    Cambria L. Sorensen                :  Chapter 7
                                       :  Judge Jeffery A. Deller
       Debtor(s).                      :  ***********************
                                       :
   U.S. Bank National Association, as  :
   Trustee, for Residential Asset      :
   Securities Corporation, Home Equity :  Date and Time of Hearing
   Mortgage Asset-Backed Pass-         :  Place of Hearing
   Through Certificates, Series 2006-  :  September 5, 2017 at 10:00 a.m.
   EMX7                                :  _________________________________
         Movant,                       :
                                       :  Courtroom D, 54th Floor
           vs.                         :  U.S. Steel Tower
                                       :  600 Grant Street
                                       :  Pittsburgh, PA 15219
   John W. Sorensen                    :
   Cambria L. Sorensen                 :
                                       :
   Natalie Lutz Cardiello              :
                                       :
        Respondents.                   :


     CERTIFICATE OF SERVICE OF MOTION FOR ABANDONMENT OF REAL
                     PROPERTY WITH 30 DAY WAIVER

        I certify under penalty of perjury that I served the above captioned pleading on the parties
at the addresses specified below or on the attached list on (date) August 4, 2017.

       The type(s) of service made on the parties (first-class mail, electronic notification, hand
delivery, or another type of service) was: ___regular U.S. mail, electronic notification.

         If more than one method of service was employed, this certificate of service groups the
parties by the type of service. For example, the full name, email address, and where applicable
the full name of the person or entity represented, for each party served by electronic transmission
is listed under the heading "Service by NEF," and the full name and complete postal address for




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each party served by mail, is listed under the heading "Service by First-Class Mail."

EXECUTED ON: __August 4, 2017____

                                             By: /s/ Karina Velter
                                             Signature
                                             Karina Velter, Esquire
                                             Typed Name
                                             P.O. Box 165028, Columbus, OH 43216-5028
                                             Address
                                             614-220-5611
                                             Phone No.
                                             94781
                                             List Bar I.D. and State of Admission




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  Karina Velter, Attorney for Creditor, Manley Deas Kochalski LLC, P.O. Box 165028,
  Columbus, OH 43216-5028 (notified by ecf)

  Office of the United States Trustee, Liberty Center, 1001 Liberty Avenue, Suite 970,
  Pittsburgh, PA 15222 (notified by ecf)

  Natalie Lutz Cardiello, Chapter 7 Trustee, 107 Huron Drive, Carnegie, PA 15106 (notified by
  ecf)

  Jason L. Karavias, Attorney for Debtor, 239 4th Avenue, Suite 1603, Pittsburgh, PA 15222
  (notified by ecf)

  John W. Sorensen and Cambria L. Sorensen, Debtor, 622 Bascom Ave, Pittsburgh, PA 15212
  (notified by regular US Mail)

  John W. Sorensen and Cambria L. Sorensen, Debtor, 622 Bascom Avenue, Pittsburgh, PA
  15237 (notified by regular US Mail)

  Ocwen Loan Servicing LLC, Party of Interest, PO Box 660264, Dallas, TX 75266-0264
  (notified by regular US Mail)

  PA Housing Finance Agency HEMAP, Party of Interest, PO Box 1506, Harrisburg, PA
  17105-5206 (notified by regular US Mail)




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